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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0979V
                                          UNPUBLISHED


    JEANETTE LINGAFELT,                                         Chief Special Master Corcoran

                         Petitioner,                            Filed: January 25, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Jimmy A. Zgheib, Zgheib Sayad, P.C., White Plains, NY, for Petitioner.

Steven Santayana, U.S. Department of Justice, Washington, DC, for Respondent.

                                DECISION ON JOINT STIPULATION1

        On August 6, 2020, Jeanette Lingafelt filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (“SIRVA”) and left carpel tunnel syndrome as a result of an influenza (“flu”)
vaccine she received on October 20, 2017. Petition at 1; Stipulation, filed at January 25,
2022, ¶ 2-4. Petitioner further alleges that she experienced the residual effects of these
injuries for more than six months. Petition at 7; Stipulation at ¶ 4. Respondent denies “that
petitioner sustained a Table SIRVA injury, and further denies that the flu vaccine caused
petitioner’s alleged left shoulder injury, her alleged left carpal tunnel syndrome, any other
injury, or her current condition.” Stipulation at ¶ 6.

       Nevertheless, on January 25, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A. A lump sum of $40,233.91, in the form of a check payable to Petitioner;
           and

        B. A lump sum of $54.47, representing reimbursement of a Medicaid lien for
           services rendered to Petitioner, in the form of a check payable to
           Petitioner and Equian, to be sent to:

                        Equian
                        Attention:       Amy McMasters
                                         Event No. HRI 14704369—14648132
                                         P.O. Box 34060, Louisville, KY 40232-4060

        Petitioner agrees to endorse this check to Equian. Stipulation at ¶ 8.

       These amounts represent compensation for all items of damages that would be
available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                  THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


 JEANETTE LINGAFELT,

                        Petitioner,

 V.                                                     No. 20-0979V

 SECRETARY OF HEALTH AND                                Chief Special Master Brian H. Corcoran
 HUMAN SERVICES,

                        Respondent.



                                          STIPULATION

       The parties hereby stipulate to the following matters:

        1.     Jeanette Lingafelt ("petitioner") ftled a petition for vaccine compensation under

the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "'Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of the influenza ("flu") vaccine, which is a vaccine contained in the Vaccine Injury Table (the

"Table"), 42 C.F.R. § 100.3 (a).

       2.      Petitioner received the flu vaccine on October 20, 2017.

       3.      The vaccination was administered within the United States.

       4.      Petitioner alleges that she sustained a left shoulder injury related to vaccine

administration ("SIRVA") within the Table time period after receiving the flu vaccine, and left

carpal tunnel syndrome, and alleges that she experienced the residual effects of these injuries for

more than six months.

       5.      Petitioner represents that there has been no prior award or settlement of a civil

action for damages on her behalf as a result of her alleged injuries.
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         6.       Respondent denies that petitioner sustained a Table SIRVA injury, and further

denies that the flu vaccine caused petitioner's alleged left shoulder injury, her alleged left carpal

tunnel syndrome, any other injury, or her current condition.

         7.       Maintaining their above-stated positions, the parties nevertheless now agree that

the issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

         8.       As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-21 (a)(l), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

         A.       A lump sum of $40,233.91 in the form of a check payable to petitioner; and

         B.       A lump sum of $54.4 7 1 representing reimbursement of a Medicaid lien for
                  services rendered to petitioner, in the form of a check payable jointly to petitioner
                  and Equian, to be sent to:

                                    Equian
                                    Attention: Amy McMasters
                                               Event No. HRI 14704368-14648132
                                               P.O. Box 34060, Louisville, KY 40232-4060


                  Petitioner agrees to endorse this check to Equian.

This amount represents compensation for all damages that would be available under 42 U.S.C.

§ 300aa-15(a).

         9.       As soon as practicable after the entry of judgment on entitlement in this case. and

after petitioner has filed both a proper and timely election to receive compensation pursuant to


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  This amount represents fullsatisfactionofany right ofsubrogation, assignment, claim, lien, or cause ofaction any
third-party may have against any individual as a result ofany Medicaid payments made to oron behalfof petitioner
as a res ult of petitioner's alleged injury relating to a vaccine administered on October 20, 2017, under Title XIX of
the Social Security Act, see 42 U.S.C. § 300aa-15(g), (h).

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42 U.S.C. § 300aa-21(a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

        lO.     Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-l 5(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.

        11.     Payment made pursuant to paragraph 8 of this Stipulation and any amounts

awarded pursuant to paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C.

§ 300aa-15(0, subject to the availability of sufficient statutory funds.

        12.     The parties and their attorneys further agree and stipulate that, except for any

award for attorneys' fees and litigation costs, and past unreimbursable expenses, the money

provided pursuant to this Stipulation will be used solely for the benefit of petitioner as

contemplated by a strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the

conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13.     In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit, and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation



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Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on October 20, 2017, as

alleged by petitioner in a petition for vaccine compensation fded on or about August 6, 2020, in

the United States Court of Federal Claims as petition No. 20-979V.

        14.    If petitioner should die prior to entry of judgment, this agreement shall be

voidable upon proper notice to the Court on behalf of either or both of the parties.

        15.    If the special master fails to issue a decision in complete conformity with the

terms of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity

with a decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16.    This Stipulation expresses a full and complete negotiated settlement of liability

and damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended,

except as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of

the parties hereto to make any payment or to do any act or thing other than is herein expressly

stated and clearly agreed to. The parties further agree and understand that the award described in

this Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17.    This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged left

shoulder injury, her alleged left carpal tunnel syndrome, or any other injury or her current

condition.



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        18.    All rights and obligations of petitioner hereunder shall apply equally to

petitioner's heirs, executors, administrators, successors, and/or assigns.

                                        END OF STIPULATION




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 Respectfully submitted,

 PETITIONER:


 Jeant tte Lingafelt (Jan 21, 2022 13:27 EST)

 JEANETTE LINGAFELT


                                                                      AUTHORIZED REPRESENTATIVE
                                                                      OF THE ATTORNEY GENERAL:


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                                                                      HEATHER L. PEARLMAN
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                                                                      Benjamin Franklin Station
                                                                      Washington, DC 20044-0146


 AUTHORIZED REPRESENTATIVE                                            ATTORNEY OF RECORD FOR
 OF THE SECRETARY OF HEAL TH                                          RESPONDENT:
 AND HUMAN SERVICES:


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 CDR GEORGE REED GRIMES, MD,                              Mk'!        ST VEN C. SANT
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